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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF INDIANA
                          HAMMOND DIVISION


  UNITED STATES OF AMERICA,               )
                                          )
  Plaintiff/Respondent,                   )
                                          )
  vs.                                     )     NO. 2:09-cr-43
                                          )         2:13-cv-454
  JOVAN DEMONT STEWART,                   )
                                          )
  Defendant/Petitioner.                   )


                            OPINION AND ORDER
        This matter is before the Court on the: (1) Motion Under 28

  U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence By a Person

  in Federal Custody, filed by Petitioner, Jovan Demont Stewart, on

  December 9, 2013 (DE #499); and (2) Motion for Leave to Proceed In

  Forma Pauperis, filed by Petitioner, Jovan Demont Stewart, on

  December 9, 2013 (DE #504).      For the reasons set forth below, the

  motion for leave to proceed in forma pauperis (DE #504) is DENIED

  and the section 2255 motion (DE #499) is also DENIED.                 Stewart’s

  request for an evidentiary hearing (DE #543-1, p. 40), is also

  DENIED.    The Clerk is ORDERED to DISMISS this civil action WITH

  PREJUDICE. Additionally, the Court DECLINES to issue a certificate

  of appealability.     The Clerk is FURTHER ORDERED to distribute a

  copy of this order to Petitioner (Inmate Reg. No. 10105-27), Tucson

  USP, US Penitentiary, Inmate Mail/Parcels P.O. Box 24550, Tucson,
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  Arizona 85734, or to such other more current address that may be on

  file for the Petitioner.



  BACKGROUND

        On July 2, 2009, Stewart was charged with four co-defendants

  in a superseding indictment (DE #35).            Stewart was charged with:

  Count 1 - conspiracy under 18 U.S.C. § 371 to commit various

  violations of 18 U.S.C. §§ 2, 1591(a)(1), (b)(2), 2421, and

  2423(a); in Counts 6, 8, 10, 12, 14 and 18 - substantive violations

  of 18 U.S.C. § 1591(a)(1) and (b)(1) for his role in recruiting,

  enticing, harboring, transporting, providing, and obtaining victims

  A.H., A.W., B.G., C.V., J.O., and S.K., knowing that force, fraud,

  or coercion would be used to cause them to engage in commercial sex

  acts; in Counts 7, 9, 11, 13, 19, 20, and 21, with substantive

  violations of 18 U.S.C. §§ 2, 2421, for his role in transporting

  victims A.H., A.W., B.G., C.V., S.K., A.B.3, and L.E. in interstate

  commerce with intent that they engage in prostitution; and Count 3

  for   violation   of   18   U.S.C.    §§   2,   2423(a),   for   his    role   in

  transporting minor victim A.B.2 in interstate commerce with intent

  that she engage in prostitution.           (DE #35.)

        Following a ten-day jury trial, Stewart was found guilty of

  all charges against him.         (DE #203.)         At trial, Stewart was

  represented by attorney Mark Psimos.             On December 7, 2010, this

  Court held a sentencing hearing for Stewart, and he was sentenced


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  to: 60 months for Count 1; 120 months for each of Counts 7, 9, 11,

  13, 20, and 21; and life imprisonment for each of Counts 3, 6, 8,

  10, 12, 14, and 18, all terms to be served concurrently.               Judgment

  was entered on December 8, 2010.

        Through appointed appellate counsel, Christopher D. Donovan,

  Stewart filed a direct appeal with the Seventh Circuit on December

  9, 2010 (DE #346, 374).        On appeal, Cephus raised the following

  arguments:    (1)    The   Government’s     “incessant   leading”       of   its

  witnesses amounted to credibility vouching, violating Defendant’s

  rights to confrontation and due process; (2) this Court improperly

  excluded evidence of a victim’s prior sexual behavior under Federal

  Rule of Evidence 412; (3) Defendant was unfairly prejudiced by the

  admission of evidence that co-defendant Justin Cephus had beaten

  and hung to death a dog; (4) this Court erred by allowing a

  superseding indictment that was duplicitous as to every count; (5)

  Defendant’s   life    sentence    without   parole    violates    the    Eighth

  Amendment prohibition against cruel and unusual punishment, and

  finally (6) this case should be remanded for resentencing due to

  ambiguity     in    whether      Defendant’s    separate      sentences       of

  incarceration should run consecutive or concurrent.                See United

  States v. Cephus, 684 F.3d 703 (7th Cir. 2012), cert. denied, 133

  S. Ct. 588, 133 S. Ct. 807 (2012).          The Seventh Circuit rejected

  all of Stewart’s arguments except the last claim regarding his




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  sentence.   Id.1

       In response to Stewart’s arguments that the prosecution asked

 too many leading questions, the Seventh Circuit found some of those

 questions were leading and some were not, but regardless, “the

 leading questions in this case could not have affected the verdict

 of a reasonable jury, given the overwhelming evidence of the

 defendants’ guilt.”     (Id. at 708.)      Regarding the Rule 412 evidence

 Defendant sought to offer that the victim engaged in other sexual

 behavior, the Court found that “testimony sought to be elicited by

 the cross-examination would have been irrelevant.”           Id.       Likewise,

 admission of evidence that Stewart’s co-defendant, Justin Cephus,

 beat and hung a dog was affirmed because it was “relevant to show

 a method by which Cephus coerced his recruits into obeying his

 illegal commands and was not unduly prejudicial in light of the

 extensive evidence that Cephus beat women who worked for him.” (Id.

 at 709.)     Regarding the allegedly “duplicitous” indictment, the

 Seventh Circuit found defendants waived the issue for not having

 brought it up in district court and “[a]nyway none of the counts was

 likely to be thought duplicitous by the jurors.”              (Id. at 706.)

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         Following investigation into the matter, the Court
  concluded that the written sentence stating Stewart’s sentences
  are “to be served concurrently” was correct, and the Court mis-
  spoke during the sentencing hearing when it orally pronounced
  Defendant’s sentences were “all to be served consecutively to
  each other.” The Court resolved this in its September 5, 2012
  (DE #433) order, finding the written judgment stating the
  sentences are to be served concurrently is correct, and remains
  in effect.

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 Finally, Stewart’s contention that his life sentence violated the

 cruel and unusual punishment clause of the Eighth Amendment was

 rejected.    (Id. at 709.)       The United States Supreme Court denied

 Stewart’s petition for writ of certiorari.                 See Stewart v. United

 States, 133 S. Ct. 807 (2012).

       Stewart filed the instant motion to vacate his sentence under

 section 2255 on December 9, 2013 (DE #499).                       He received an

 extension of time to file his memorandum and permission to file an

 oversized brief, and filed a 41-page brief on April 9, 2014 (DE

 #543-1). The Government filed a response on June 30, 2014 (DE #566).

 Stewart then filed a reply on September 3, 2014 (DE #578). As such,

 this motion is fully briefed, and ripe for adjudication.



 DISCUSSION

       Habeas corpus relief under 28 U.S.C. section 2255 is reserved

 for "extraordinary situations."          Prewitt v. United States, 83 F.3d

 812, 816 (7th Cir. 1996).        In order to proceed on a habeas corpus

 petition pursuant to 28 U.S.C. section 2255, a federal prisoner must

 show that the district court sentenced him in violation of the

 Constitution or laws of the United States, or that the sentence was

 in excess of the maximum authorized by law, or is otherwise subject

 to collateral attack.      Id.

       A   section   2255   motion   is       neither   a    substitute       for   nor

 recapitulation of a direct appeal.            Id.; Belford v. United States,


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 975 F.2d 310, 313 (7th Cir. 1992), overruled on other grounds by

 Castellanos v. United States, 26 F.3d 717 (7th Cir. 1994).                         As a

 result:

             [T]here are three types of issues that a
             section 2255 motion cannot raise: (1) issues
             that were raised on direct appeal, absent a
             showing    of   changed    circumstances;  (2)
             nonconstitutional issues that could have been
             but were not raised on direct appeal; and (3)
             constitutional issues that were not raised on
             direct   appeal,   unless   the   section 2255
             petitioner    demonstrates    cause   for  the
             procedural default as well as actual prejudice
             from the failure to appeal.

 Belford, 975 F.2d at 313.         Additionally, aside from demonstrating

 "cause" and "prejudice" from the failure to raise constitutional

 errors on direct appeal, a section 2255 petitioner may alternatively

 pursue such errors after demonstrating that the district court's

 refusal    to   consider    the   claims      would    lead    to    a   fundamental

 miscarriage of justice.       McCleese v. United States, 75 F.3d 1174,

 1177 (7th Cir. 1996).

       In assessing Petitioner's motion, the Court is mindful of the

 well-settled principle that, when interpreting a pro se petitioner's

 complaint or section 2255 motion, district courts have a "special

 responsibility" to construe such pleadings liberally.                         Donald v.

 Cook Cnty. Sheriff's Dep't, 95 F.3d 548, 555 (7th Cir. 1996);

 Estelle v. Gamble, 429 U.S. 97, 106 (1976) (a "pro se complaint,

 'however   inartfully      pleaded'    must    be     held    to   'less      stringent

 standards than formal pleadings drafted by lawyers'") (quoting


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 Haines v. Kerner, 404 U.S. 519 (1972)); Brown v. Roe, 279 F.3d 742,

 746 (9th Cir. 2002) ("pro se habeas petitioners are to be afforded

 'the benefit of any doubt'") (quoting Bretz v. Kelman, 773 F.2d

 1026, 1027 n.1 (9th Cir. 1985)).           In other words:

             The mandated liberal construction afforded to
             pro se pleadings "means that if the court can
             reasonably read the pleadings to state a valid
             claim on which the [petitioner] could prevail,
             it should do so despite the [petitioner's]
             failure to cite proper legal authority, his
             confusion of various legal theories, his poor
             syntax and sentence construction, or his
             unfamiliarity with pleading requirements."

 Barnett v. Hargett, 174 F.3d 1128, 1133 (10th Cir. 1999) (habeas

 petition from state court conviction) (alterations in original)

 (quoting Hall    v. Bellmon, 935 F.2d 1106, 1110 (10th Cir. 1991)).

 On the other hand, "a district court should not 'assume the role of

 advocate for the pro se litigant' and may 'not rewrite a petition

 to include claims that were never presented.'" Id. Here, the Court

 assessed Stewart’s claims with these guidelines in mind.



 Motion for Leave to File IFP

       From his motion, it appears that Stewart is indigent (DE #504).

 However, there is no filing fee or service requirement for a § 2255

 petition.    Here, it seems that Stewart’s request for ifp status is

 intertwined with his previous requests for documents and information

 in the record.     Stewart’s counsel informed the Court that he sent

 Stewart copies of transcripts and records (DE ##429, 430) and


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 Stewart sought additional documents including grand jury transcripts

 which this Court denied (DE ##453, 514).              As such, the instant

 motion to proceed in forma pauperis (DE #504) is DENIED.



 Section 2255 Petition

        Stewart     contends     that   his    trial    attorney          provided

 constitutionally ineffective assistance of counsel.                     Claims of

 ineffective assistance of counsel are governed by the 2-pronged test

 set forth in Strickland v. Washington, 466 U.S. 668 (1984).                     To

 prevail on an ineffective assistance of counsel claim, the Defendant

 must first show the specific acts or omissions of his attorney "fell

 below an objective standard of reasonableness" and were "outside the

 wide range of professionally competent assistance."                     Barker v.

 United States, 7 F.3d 629, 633 (7th Cir. 1993) (quoting Strickland,

 466 U.S. at 690); see also Hardamon v. United States, 319 F.3d 943,

 948 (7th Cir. 2003); Anderson v. Sternes, 243 F.3d 1049, 1057 (7th

 Cir. 2001).      The second Strickland prong requires the Defendant to

 show prejudice, which entails showing by "a reasonable probability

 that, but for counsel's unprofessional errors, the result of the

 proceeding would have been different."          Strickland,       466 U.S. at

 694.

        Regarding the deficient-performance prong, great deference is

 given to counsel's performance and the defendant has a heavy burden

 to   overcome    the   strong   presumption   of   effective     performance.


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 Strickland, 466 U.S. at 690; Coleman v. United States, 318 F.3d 754,

 758 (7th Cir. 2003) (defendant “has a difficult burden of proof as

 he   must   overcome    the   strong   presumption     that   his    attorney’s

 performance was effective.”).          Defendant must establish specific

 acts or omissions that fell below professional norms.               Strickland,

 466 U.S. at 690.       If one prong is not satisfied, it is unnecessary

 to reach the merits of the second prong.          Id. at 697.

       The   Seventh    Circuit   has   held   that,    “[o]nly   those    habeas

 petitioners who can prove under Strickland that they have been

 denied a fair trial by the gross incompetence of their attorneys

 will be granted the writ.”        Rodriguez v. United States, 286 F.3d

 972, 983 (7th Cir. 2002) (quoting Kimmelman v. Morrison, 47 U.S.

 365, 382 (1986)).       Additionally, trial counsel “is entitled to a

 ‘strong presumption’ that his performance fell ‘within the range of

 reasonable professional assistance’ and will not be judged with the

 benefit of hindsight.’”       Almonacid v. United States, 476 F.3d 518,

 521 (7th Cir. 2007) (citing Strickland, 466 U.S. at 689).                “Courts

 are admonished not to become ‘Monday morning quaterback[s]’ in

 evaluating counsel’s performance.” Blake v. United States, 723 F.3d

 870, 879 (7th Cir. 2013) (quoting Harris v. Reed, 894 F.2d 871, 877

 (7th Cir. 1990)).



       Entrapment Defense

       First, Stewart argues his counsel was ineffective because he


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failed to present an entrapment defense.          (DE #543-1, pp. 1-8.)         To

prove entrapment, a defendant must show both an improper government

inducement and a lack of predisposition to commit the crime.                    See

Mathews v. United States, 485 U.S. 58, 63 (1988); United States v.

Bek, 493 F.3d 790, 800 (7th Cir. 2007).             The inducement must be

“extraordinary.”     United States v. Haddad, 462 F.3d 783, 790 (7th

Cir. 2006).    When a defendant takes a “simple, ordinary opportunity

to commit a crime,” he cannot make an entrapment defense.                 Id.   The

Seventh Circuit recently analyzed this doctrine finding:

            We hold that inducement means more than mere
            government solicitation of the crime; the fact that
            government agents initiated contact with the
            defendant, suggested the crime, or furnished the
            ordinary opportunity to commit it is insufficient to
            show   inducement.     Instead,   inducement   means
            government solicitation of the crime plus some other
            government conduct that creates a risk that a person
            who would not commit the crime if left to his own
            devices will do so in response to the government’s
            efforts.    The “other conduct” may be repeated
            attempts at persuasion, fraudulent representations,
            threats, coercive tactics, harassment, promises of
            reward beyond that inherent in the customary
            execution of the crime, pleas based on need,
            sympathy, or friendship, or any other conduct by
            government agents that creates a risk that a person
            who otherwise would not commit the crime if left
            alone will do so in response to the government’s
            efforts.

United States v. Mayfield, 771 F.3d 417, 434-35 (7th Cir. 2014).

Regarding predisposition, “a defendant is predisposed to commit the

charged crime if he was ready and willing to do so and likely would

have committed it without the government’s intervention, or actively

wanted to but hadn’t yet found the means.”           Id. at 438.

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      In this case, there is no evidence to support an entrapment

defense.    There was no extraordinary offer, or “other conduct” as

required by Mayfield.     The law enforcement agents called the escort

service, ordered two girls for “full service” at a quoted price of

$350 per girl, and when the girls arrived, they agreed to perform

oral and genital sex in exchange for $700 total.                (Vol. II, Tr.

Transcript, DE #294, pp. 347-53, 444-59.)          Stewart’s argument about

the women potentially receiving tips is convoluted and irrelevant.

(DE #578, pp. 1-4.)      There was testimony at trial that typically,

after the money was collected, the women would tell the John their

performance was based on tips, to get them to pay more money.                 (DE

#297, pp. 869, 877-78.) However, no evidence was put forth at trial

(and Stewart has not produced any) that there was ever a discussion

of any possible tip involved during the sting operation at issue.

Even assuming, arguendo, a tip was possible, that does not rise to

the level of an extraordinary offer.             Finally, there was trial

testimony that the girls who went to the hotel that day (C.V., L.E.

and B.G.) had previously participated in prostitution acts as a part

of Defendants’ business.       (Vol. IV, Tr. Transcript, DE #297, pp.

848-924.)

      Stewart seems to argue that the Government would have to prove

that he personally was predisposed to commit prostitution offenses.

(DE #543-1, p. 9.)     However, he has the burden of showing both an

improper government inducement and a lack of predisposition to


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commit the crime.      See Mathews, 485 U.S. at 63; Bek, 493 F.3d at

800. The evidence at trial showed Stewart was a willing participant

in the crimes with which he was charged.                 Thus, any entrapment

defense would have failed, and his trial counsel was not ineffective

for failing to assert an entrapment defense.             Similarly, it was not

ineffective assistance to fail to suppress evidence Stewart alleges

was “tainted by entrapment.”       (DE #543-1, p. 15.)

      Finally, along the same vein, Stewart argues his counsel should

have raised a defense based upon alleged Government misconduct. (DE

#541-3, p. 17; Reply, DE #578, p.7) (citing United States v.

Russell, 411 U.S. 423 (1973).)           However, the Seventh Circuit has

explicitly denied the existence of such a defense based upon the

Russell dicta.    See, e.g., United States v. Westmoreland, 712 F.3d

1066, 1071-72 (7th Cir. 2013); United States v. Stallworth, 656 F.3d

721, 730 (7th Cir. 2011) (“[o]utrageous government conduct is not

a defense in this circuit.”).       Even if it were, as pointed out by

the Seventh Circuit in Stallworth, “there is nothing inherently

outrageous about conducting a sting operation.”                Stallworth, 656

F.3d at 730 (citing United States v. Murphy, 768 F.2d 1518, 1528-29

(7th Cir. 1985)).



      Severance

      Next, Stewart argues his trial counsel was ineffective for not

moving for a severance of trials. Specifically, he claims the “vast


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majority of the evidence would be focused on Domestic relations

between purported victims and co-defendants and other conduct not

related to Stewart, and a separate trial would have resulted in an

acquittal.”    (DE #543-1, p. 13.)

      The Seventh Circuit has stated there is a “strong public

interest” in having persons “jointly indicted tried together.”

United States v. Neely, 980 F.2d 1074, 1090 (7th Cir. 1992) (quoting

United States v. Percival, 756 F.2d 600, 610 (7th Cir. 1985)). That

is especially true in cases where multiple defendants are charged

with engaging in a common enterprise.                 See United States v.

Buljubasic, 808 F.2d 1260, 1263 (7th Cir. 1987) (“[t]here is a

strong interest in joint trials for those who engaged in a common

enterprise.”).      Joint trials are economical for the courts and

prosecutors, reduce the stress on witnesses, and “give[] the jury

the best perspective on all of the evidence and therefore increase[]

the likelihood of a correct outcome.”           Id.      Thus, Stewart has not

shown that if he made this motion, it likely would have been granted

and would have changed the outcome of the trial.             See, e.g., United

States v. Jackson, 33 F.3d 866, 875-76 (7th Cir. 1994) (denying

claim of ineffective assistance of counsel where counsel failed to

make a severance motion, reasoning it could have been a tactical

decision, and that in any event, “we think it highly unlikely that

a motion for severance would have been granted.”).              Moreover, as in

Jackson, the Court notes that this Court did admonish the jury that


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it was obligated to separately consider each defendant.                  (DE #214,

p. 20.) Thus, the Court cannot say that failure to seek a severance

resulted in a different result of the proceedings.



      Alleged Failure to Investigate

      Stewart    contends    his   trial     counsel   failed     to    adequately

investigate the facts of the case.            (DE #543-1, pp. 15, 22; Reply

Br., DE #578, pp. 5-6.)         With this assertion, Stewart bears the

burden    of    making   a   “comprehensive      showing     as    to   what    the

investigation would have produced.”            Richardson v. United States,

379 F.3d 485, 488 (7th Cir. 2004) (quoting Hardamon v. United

States, 319 F.3d 943, 951 (7th Cir. 2003)).              Stewart has not done

so, and has failed to provide the Court with any information that,

had it been presented at trial, would likely have changed the

outcome of the proceedings.         He argues his attorney should have

pulled certain documents from the files like Stewart’s lease, his

social    security/disability       checks,     bankruptcy        documents     and

insurance coverage, but there is nothing implicit in the titles of

these documents to show the Court what more investigation would have

uncovered, and how it could have affected the outcome of the trial.

Moreover, there is nothing in the record at all to support Stewart’s

bald assertion that further investigation would have shown “that

Stewart’s conviction rests on perjured testimony of Law enforcement

entrapping escort girls into illicit acts, and inducing the girls


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by force and promise to implicate Stewart.”              (DE #578, p. 6.)



      Grand Jury Testimony

      Stewart has several arguments relating to the grand jury, which

he believes heard perjurious testimony and other inappropriate

evidence.    (DE #543-1, pp. 16, 18, 27-28.)             Stewart has filed a

previous request for the grand jury transcripts, which this Court

denied (DE #453).     In the order, this Court recognized the typical

secrecy of the grand jury proceedings, and recognized the need for

a “compelling necessity” or “particularized need” to obtain such

materials.    Matter of Grand Jury Proceedings, Special Sept., 1986,

942 F.2d 1195, 1198 (7th Cir. 1991).         Moreover, as this Court noted

in the previous order, Stewart’s conviction at trial moots any

attack he now may be trying to make on the sufficiency of the

evidence presented to the grand jury. See United States v. Rosario,

234 F.3d 347, 352 (7th Cir. 2000) (noting any such error in the

presentation of evidence before the grand jury would be harmless

given the jury conviction at trial which indicates a proper grand

jury proceeding would have still yielded an indictment).



      Not Testifying at Trial

      Stewart also criticizes trial counsel for not putting him on

the stand to testify at trial.      (DE #543-1, pp. 19, 21, see also DE

#559, Ex. 3 (Aff. Of Defendant)).             Stewart contends Mr. Psimos


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“refused to allow me to testify.” (DE #559-3, p.1.) This assertion

is directly contradicted by Stewart’s own sworn testimony at the

hearing which this Court conducted outside the presence of the jury

during trial.

      This Court asked Stewart if he had talked to his attorney

regarding the right to testify, whether         the attorney had explained

he had a right to testify if he wished but no one could force him

to testify, that if he did testify he would be subject to cross-

examination, and this is a “one-time choice; in other words, you

can’t wait for the verdict to come back and say, Now I want to

testify.   You have to make your decision right now.”            (DE #304, pp.

2229-2230.) Stewart answered affirmatively to all these questions.

Id.    Then, this Court specifically asked Stewart, “[i]s it your

desire not to testify in this case?” and he answered, “Yes, Judge.”

(Id., p. 2230.)      When asked if he was doing this knowingly and

voluntarily, he replied, “[y]es, Your Honor” and stated that no one

forced him to not testify.      (Id., pp. 2230-31.)

      Stewart was properly advised of his right to testify and the

Court found that he was making a knowing and voluntary decision not

to testify.    Stewart’s claim that his attorney improperly convinced

him or forced him to not testify is thus contradicted by the record.

He is bound by that testimony.          See United States v. Ellison, 835

F.2d 687, 693 (7th Cir. 1987) (“Rational conduct requires that

voluntary responses made by a defendant under oath before an

examining judge be binding.      Such a requirement is consistent with

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reason and common sense.”).

      Furthermore, Stewart did list proposed testimony for the Court

(DE #559, Ex. 3), but much of that proposed testimony was directly

contradicted by the overwhelming evidence presented at trial, making

it likely to be perceived as perjurious.                 See United States v.

Curtis, 742 F.2d 1070, 1076 (7th Cir. 1984) (finding although

criminal defendant has a constitutional right to testify truthfully

on his own behalf, he “has no constitutional right to testify

perjuriously in his own behalf”).            As such, the proposed testimony

does not indicate it could have lead to an acquittal.



      Batson Challenge
      Stewart also argues “that statistical disparities resulted in

Jury strikes, causing an unequal Jury of his peers, in violation of

Batson v. Kentucky, 476 U.S. 79, 96-98 (1986).” (DE #543-1, p. 20.)

Stewart contends that at trial, there was only one African American

on the jury and one African American alternate juror.2

      During jury selection in this case, both the Government3 and

defense counsel raised Batson challenges.             (DE #306, Vol. I, Tr.

Transcript, pp. 89-91, 138-140). Counsel for co-defendant, Jackson-

Bey (who was later severed from trial due to contraction of MERSA),

       2
       The Court does not maintain records that can verify or
 refute this statement. The Government does not contest this
 point, and the Court’s independent recollection is the same.
       3
       The Government first raised a Batson challenge, arguing the
 Defendants were improperly challenging female jurors based upon
 their sex. (DE #306, p. 85.) The Court denied that challenge.
 (Id., p. 87.)

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raised a Batson challenge following the Government’s peremptory

strike of an African American female.            (Id. at 138.)4

        Under      Batson,   the   prosecution   may   not    use    a   peremptory

challenge to strike a potential juror on the basis of his or her

race.       Batson, 476 U.S. at 89.       When claiming a Batson violation,

the defendant must first make a prima facie case that a challenge

was used to exclude a juror based on race.             United States v. Brown,

289 F.3d 989, 993 (7th Cir. 2002). If the prosecution comes forward

with a race-neutral explanation, the trial court will allow the

challenge unless the defendant establishes the explanation is

pretextual.         Id.      At trial, AUSA Benson explained the African

American juror he struck worked for a lawyer whom he personally

prosecuted and convicted, and her brother was convicted of rape (a

crime related to the issues in this case). (DE #306, pp. 138-140).

Based       upon   the    Government’s   race-neutral     explanation         for   the

peremptory strike, this Court found no Batson violation.                      (Id., p.

140.)

      Despite quoting Batson in his section 2255 motion, Stewart has

failed to point to any specific jurors he believes were challenged

based upon racial grounds.            In his reply memorandum, he seems to


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       The Court notes that the Government makes the argument that
 Stewart is albino, and his appearance could have been perceived
 as Caucasian by the jury. (DE #566, p. 13 n. 4.) In his reply,
 Stewart states he “is albino, but any person can see he is a
 black man with a blond Afro.” and the jury was told his two black
 co-defendants were his cousins. (DE #578, p. 8.) Regardless of
 any possible perceptions by the jury, because Stewart states he
 is African American, this Court will analyze his Batson challenge
 accordingly.

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generally challenge the “unequal ethnical” jury composition, quoting

Campbell v. Louisiana, 523 U.S. 392 (1998).               (Reply Br., DE #578,

p. 8.)      Stewart also contends, without providing more support, that

“[t]he racial ethnicity of the State of Indiana, Hammond Division

area, is at or above nuteral [sic.] in the black and white races,

thus, out of Stewart’s jury pool, the systematic selection process

would question black as minority for his trial.”                  (Reply Br., DE

#578, p. 8.)

       In essence, Stewart is making a fair cross-section argument.

However, he has failed to establish a prima facie case that his

Sixth Amendment right to a venire drawn from a fair cross-section

of    the   community   was     violated.      As   the   Seventh    Circuit     has

explained:

              [S]uch a showing requires the defendant to
              demonstrate that the group allegedly excluded is a
              distinctive part of the community; that the
              representation of this group in venires from which
              juries are selected is not fair and reasonable in
              relation to the number of such persons in the
              community; and that this underrepresentation is due
              to systematic exclusion of the group in the jury
              selection process.

United States v. Cooke, 110 F.3d 1288, 1301 (7th Cir. 1997) (quoting

United States v. Ashley, 54 F.3d 311, 313 (7th Cir. 1995)). Stewart

has    failed    to   provide    the   Court   with   any    facts     or    numbers

whatsoever.       He has not established the racial make-up of the

counties providing jurors for this district or the racial make-up

of the jury venire.      Additionally, he has not demonstrated that any

purported under-representation of African Americans resulted from

any type of systematic exclusion.              As such, he has not met his

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burden of establishing a prima facie showing of a Sixth Amendment

violation based upon the composition of his jury venire. Cooke, 110

F.3d at 1301.      Moreover, the Seventh Circuit has upheld the use of

voter rolls to select a venire, which was the same process used in

this case.     United States v. Smith, 223 F.3d 554, 569 (7th Cir.

2000) (citing Cooke, 110 F.3d at 1302).



       Insufficiency of Evidence

       Stewart claims his appellate counsel was insufficient for not

supplementing the insufficient evidence claim on appeal to include

himself.    (Section 2255 Pet., pp. 35-37.)         On appeal, co-defendant

Stanton    Cephus    alone     argued   the   evidence    of   his    guilt    was

insufficient to convict him; however, the Seventh Circuit rejected

that argument, finding he did participate in the conspiracy and

“[t]he Pinkerton doctrine therefore made him liable for criminal

acts   committed    by   the   other    conspirators     within   that     scope.”

Cephus, 684 F.3d at 707 (citing Pinkerton v. United States, 328 U.S.

640, 646-47 (1946); United States v. Colon, 549 F.3d 565, 572 (7th

Cir. 2008)).    The same result would have been reached if Stewart’s

counsel had raised such a claim - there was ample evidence produced

at trial that Defendant Stewart recruited girls, drove girls on

calls, collected the money earned, acted as a pimp to and hit at

least one girl, told other girls they could not leave the house

while working for the business, and the Government referred to him

as “Justin Cephus’s right-hand man.”           (Sent. Tr., DE #370, pp. 21,

53.)    Based upon the overwhelming weight of evidence produced at

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trial, Stewart’s appellate counsel was not ineffective for failing

to present an insufficiency of evidence argument, and even if

presented, any such argument would have failed.


Request For An Evidentiary Hearing

      Stewart      requests   an    evidentiary      hearing,     stating      “an

Evidentiary hearing is feasible and thus, requested.” (2255 Pet.,

DE #543-1, p. 40.)         An evidentiary hearing need not be held for

every section 2255 motion. Liss v. United States, 915 F.2d 287, 290

(7th Cir. 1990).          “No hearing is required in a section 2255

proceeding    if    the   motion   raises    no   cognizable    claim,    if   the

allegations in the motion are unreasonably vague, conclusory, or

incredible, or if the factual matters raised by the motion may be

resolved on the record before the district court." Oliver v. United

States, 961 F.2d 1339, 1343 n.5 (7th Cir. 1992) (citation omitted).

      Stewart has failed to offer the Court any objective facts

outside the trial record that would warrant an evidentiary hearing.

Moreover, the Court has concluded that the record and history of

this case demonstrate that Stewart is not entitled to relief.

Therefore, an evidentiary hearing is not warranted.              See Cooper v.

United States, 378 F.3d 638, 641-42 (7th Cir. 2004) (holding

district court did not abuse its discretion in denying evidentiary

hearing where defendant was not entitled to 2255 relief, and given

lack of additional evidence from defendant).



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Certificate of Appealability

      Pursuant to Rule 11 of the Rules Governing Section 2255

Proceedings, a district court must “issue or deny a certificate of

appealability    when   it   enters      a   final   order   adverse      to   the

applicant.”     A certificate of appealability may issue only if the

applicant “has made a substantial showing of the denial of a

constitutional right.”       28 U.S.C. § 2253(c)(2).          To make such a

showing, a defendant must show that “reasonable jurists could debate

whether (or, for that matter, agree that) the motion should have

been resolved in a different manner or that the issues presented

were adequate to deserve encouragement to proceed further.”                 Slack

v. McDaniel, 529 U.S. 473, 475 (U.S. 2000) (internal quotation marks

and citation omitted).

      For the reasons set forth above, Stewart has not stated any

grounds for relief under section 2255. The Court finds no basis for

a determination that reasonable jurists would find this decision

debatable or incorrect or that the issues deserve encouragement to

proceed further. Therefore, a certificate of appealability will not

be issued.



CONCLUSION

      For the aforementioned reasons, the motion for leave to proceed

in forma pauperis (DE #504) is DENIED and the section 2255 motion

(DE #499) is also DENIED.        Stewart’s request for an evidentiary


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hearing (DE #543-1, p. 40), is also DENIED.              The Clerk is ORDERED

to DISMISS this civil action WITH PREJUDICE.                Additionally, the

Court DECLINES to issue a certificate of appealability.                The Clerk

is FURTHER ORDERED to distribute a copy of this order to Petitioner

(Inmate Reg. No. 10105-27), Tucson USP, US Penitentiary, Inmate

Mail/Parcels P.O. Box 24550, Tucson, Arizona 85734, or to such other

more current address that may be on file for the Petitioner.




DATED: January 7, 2015                       /s/ RUDY LOZANO, Judge
                                             United States District Court




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